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        EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

WORTIE AND JANICE RIGGS,                           §
                                                   §
               Plaintiffs                          §
                                                   §
         v.                                        §       CIVIL ACTION NO. _____________
                                                   §
LIBERTY MUTUAL INSURANCE                           §
                                                   §
               Defendant.                          §



                            INDEX OF STATE COURT DOCUMENTS



              Date Filed
   No.        or Entered       Document

    A         N/A              Index of State Court Documents
   A-1        N/A              State Court Docket Sheet
   A-2        06/28/2019       Plaintiff’s Original Petition
   A-3        07/05/2019       Citation Issued, Domestic Return Receipt
   A-4        07/26/2019       Defendant’s Original Answer and Affirmative Defenses
    B         N/A              List of Counsel of Record




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 HCDistrictclerk.com             RIGGS, WORTIE vs. LIBERTY MUTUAL INSURANCE                            7/26/2019
                                 Cause: 201944458    CDI: 7  Court: 157

 APPEALS
 No Appeals found.

 COST STATMENTS
 No Cost Statments found.

 TRANSFERS
 No Transfers found.

 POST TRIAL WRITS
 No Post Trial Writs found.

 ABSTRACTS
 No Abstracts found.

 SETTINGS
 No Settings found.

 NOTICES
 No Notices found.

 SUMMARY
 CASE DETAILS                                                CURRENT PRESIDING JUDGE
 File Date                6/28/2019                          Court        157th
 Case (Cause) Location                                       Address      201 CAROLINE (Floor: 11)
                                                                          HOUSTON, TX 77002
 Case (Cause) Status      Active - Civil
                                                                          Phone:7133686230
 Case (Cause) Type        Debt/Contract - Consumer/DTPA
                                                             JudgeName    TANYA GARRISON
 Next/Last Setting Date   N/A
                                                             Court Type   Civil
 Jury Fee Paid Date       6/28/2019



 ACTIVE PARTIES
 Name                                             Type                                       Post Attorney
                                                                                             Jdgm
 RIGGS, WORTIE                                    PLAINTIFF - CIVIL                                  ENE, ANA
                                                                                                     MARIA
 LIBERTY MUTUAL INSURANCE                         DEFENDANT - CIVIL                                  LEARY,
                                                                                                     KIERAN W
 RIGGS, JANICE                                    PLAINTIFF - CIVIL                                  ENE, ANA
                                                                                                     MARIA
 LIBERTY MUTUAL INSURANCE (AN INSURANCE REGISTERED AGENT
 COMPANY) MAY BE SERVED



 INACTIVE PARTIES
 No inactive parties found.




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=1XfBDxECo... 7/26/2019
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 JUDGMENT/EVENTS
 Date  Description                                    Order        Post Pgs Volume Filing                    Person
                                                      Signed       Jdgm     /Page Attorney                   Filing
 7/26/2019        ANSWER ORIGINAL PETITION                                 0               LEARY, KIERAN W   LIBERTY MUTUAL
                                                                                                             INSURANCE
 6/28/2019        JURY FEE PAID (TRCP 216)                                 0
 6/28/2019        ORIGINAL PETITION                                        0               ENE, ANA MARIA    RIGGS, JANICE
 6/28/2019        ORIGINAL PETITION                                        0               ENE, ANA MARIA    RIGGS, WORTIE



 SERVICES
 Type   Status                        Instrument Person          Requested Issued Served Returned Received Tracking Deliver
                                                                                                                    To
 CITATION SERVICE            ORIGINAL               LIBERTY   6/28/2019        7/2/2019 7/5/2019                   73641816       CVC/CTM
 (CERTIFIED) RETURN/EXECUTED PETITION               MUTUAL                                                                        SVCE BY
                                                    INSURANCE                                                                     CERTIFIED
                                                    (AN                                                                           MAIL
                                                    INSURANCE
                                                    COMPANY)
                                                    MAY BE
                                                    SERVED
         211 EAST 7TH STREET SUITE 620 AUSTIN TX 78701



 DOCUMENTS
 Number               Document                                                                         Post Date              Pgs
                                                                                                       Jdgm
 86355177             Defendant, Liberty Mutual Insurance's Original Answer and Affirmative Defenses         07/26/2019       7
 86238541             Domestic Return Receipt                                                                07/16/2019       2
 86081486             Certified Mail Receipt                                                                 07/03/2019       1
 86033018             Certified Tracking Mail # 7017 1450 0001 3702 8509                                     07/02/2019       2
 85957698             PLAINTIFFS' ORIGINAL PETITION AND JURY DEMAND                                          06/28/2019       11
  ·>   85957701       Civil Process Request Form                                                             06/28/2019       1
  ·>   85957699       PLAINTIFFS' FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION                      06/28/2019       16
                      AND REQUESTS FOR ADMISSIONS TO DEFENDANT LIBERTY MUTUAL
                      INSURANCE




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=1XfBDxECo... 7/26/2019
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    EXHIBIT A-2
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                                                                                                       6/28/2019 3:00 PM
                                                                            Marilyn Burgess - District Clerk Harris County ~
                                                                                                 EnvelopeNo.34768515
                            2~019~-4~4~4~58 / C~®u~fio 157                                                 By: Joshua Hall
                                                                                               Filed: 6/28/2019 3:00 PM

                                    CAUSE NO.

 WORTIE AND JANICE RIGGS                              §      1N THE DISTRICT COURT OF
                                                      §
          Plaiti/i ffs,                               §
                                                      §
 vs.                                                  §
                                                      §       HARRIS COUNTY, TEXAS
 LIBERTY IVIUTUAL INSURANCE                           §
                                                      §
          19efenc>'crm.                               §
                                                      §              JUDICIAL DISTRICT

                  PLAINTIFFS' OIZIGINAL PETITION AND J[JRI' DEIVIAND

TO THE HONORABLE JUDGE OF SATD COURT:

       Plaintiffs Wortie and Janice Riggs file this Original Petition against Defendant Liberty

Mutual Insurance ("Liberty Mutual") and, in support of their causes of action, would respectfully

show the Court the following:

                                                 I.
                                 DISCOVERY CONTidOL PLAN

       1.         This case is intended to be governed by Discovery Level 2 of the Texas Rule of

Civil Procedure 190.3.

                                                II.
                                             PAI27['IES

       2.         Plaintiffs Wortie and Janice Riggs are Texas residents who resides in Harris

County.

       3.         Liberty Mutual is an insurance company en~aged in the business of insurance in

Texas. Liberty Nlutual regularly conducts the business of insurance in a systematic and continuous

manner in Texas and may be served with process by certified mail, return receipt requested,

through its registered agent for service of process in the State of Texas, Corporation Service

Company, 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.



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                                             M.
                                  JUIEYYSDICTIOle1 AND VENUE

       4.        This court has subject matter jurisdiction of this cause of action because it involves

an amount in controversy in excess of the minimum jurisdictional limits of this Court.

       5.        Venue is proper in Harris County under Tex. Civ. Prac. & Rem. Code §

15.002(a)(1), because all or a substantial part of the events or omissions giving rise to the claim

occurred in Harris County. In particular, PlaintifTs' property is located in Harris County, the loss

at issue occurred in Harris County, and the adjustment of the claim by Defendant for losses under

the policy were conducted in Harris County. lnvestigations and policy and coverage

misrepresentations, including communication to and from Defendant and Plaintiffs, occurred in

Harris County.

       6.        The damages sought are within the jtirisdictional limits of this court. Plaintiffs

currently seek monetary relief over $100,000, but not more than $200,000, including damages of

any kind, penalties, costs, expenses, pre judgment interest, and attoriiey's fees.

                                             IV.
                                    FACTUAL BACKGROUlatD

       7.        Plaintiffs are named insureds under a residential property insurance policy issued

by Liberty Mutual, policy No. H3729822686740 (the "Policy")

       8.        On or about August 25-29, 2017, Hurricane Harvey, a category 4 hurricane with

winds up to 130 mph, struck the Texas coast, including the Houston, Texas area, severely

damaging Plaintiffs' residential property located at 8406 Flintridge Dr., Houston, TX 77028 ("the

Property"). Specifically, the storm caused extensive damage to the roof, resulting in multiple

storm-created openings that allowed water to enter the interior of the home. Water intrusion

through those storm-created openings caused collapsed ceilings and other interior damages to




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several rooms, including the living room, master bedroom, master closet, bathroom, and garage.

Sufficient water penetrated the roof to cause the ceiling to collapse in several rooms, causing

additional damages to Plaintiffs' personal property a.nd flooring. Plaintiffs timely filed a claim

with Liberty Mutual for their incurred covered losses, claim No. 036090600-01 (the "Claim").

        9.         Liberty Mutual assigned Kyle Plummer ("Plummer) to inspect the property and

adjust the loss.

        10.        Plummer failed to conduct a reasonable and thorough investigation of the covered

damages. Plummer did not inspect or document all the damages pointed to him and mi srepresented

the cause of water intrusion and interior damages. Plummer severely undervalued the cost to repair

or replace several damages, and altogether failed to estimate some obvious damages.

        11.        The inadequa.cy of Plummer's inspection is further evidenced by the estimate he

prepared, which severely undervalued the covered daniages Plummer observed or should have

observed during her inspection.

        12.        On or about September 4, 2017, Liberty Mutual relied on and approved the

Plummer's "findings", and essentially denied the Claim, alleging that the "covered damages does

not exceed your policy deductible."

        13.        Liberty Mutual failed to thoroughly review and properly oversee the work of its

assigned adjustc;r, ultimately approving an improper adjustment and an inadequate, unfair

settlement of the Claim. Because of the unreasonable investigation by Liberty Mutual and

Plummer, and other claim-handling personnel, Plaintiffs incurred and will continue to incur

damages to his Property.

        14.        Liberty Mutual and Plummer chose to ignore obvious damages to the Property.

Liberty Mutual relied on Plummer 's inadequate investigation in making coverage decisions under




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the Policy and deciding what amounts, if any, to pay on the claim, which is evidenced by estimates

and reports that fail to account for the necessary repairs to the Property.

       15.     Plaintiffs are entitled to receive benefits that were covered under the insurance

policy. However, Liberty Mutual and Plummer performed an outcome-oriented investigation of

Plaintiffs' Claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs' losses

on the Property. Defendant has delayed payment for Plaintiffs' necessary and covered Property

damages under the Policy. To date, Liberty Mutual has yet to make a full payment on the Claim.

       16.     Plaintiffs were forced to hire theit- own representatives to inspect and evaluate the

obvious damages to the Property that Defendant deliberately ignored in order to avoid payment on

the Claim. Additionally, as a result of Defendant's wroiigful acts and omissions, Plaintiffs were

forced to retain an attorney to prosecute the Claim for insurance benefits to which they are entitled.

       17.     Plaintiffs' experience is not an isolated case. The wrongful acts and omissions

Liberty Mutual committed in this case, or similar acts and omissions, occur with such frequency

that they constitute a general business practice of Liberty Mutual with regard to handling these

types of claims. Liberty Mutual's entire claim process is unfairly designed to reach favorable

outcomes for the company at the expense of its policyholders.

                                                 V.
                                      CAUSES ®lF' ACTI®1'd

       18.     Each of the foregoing paragraphs is incorporated by reference in the following:

A.     Breach of Contract

       19.     Liberty Mutual had a contract of insurance with Plaintiffs. Liberty Mutual breached

the terms of that contract by wrongfully denying and/or underpaying the claim and Plaintiffs were

damaged thereby.




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        20.    ITue to Liberty Mutual's breach of the contract terms and continual denial of the

claim, Plaintiffs continue to sustain damages to their property.

B.      Prompt Payment of Cflaims

        21.    Liberty Mutual's conduct constitutes multiple violations of the Texas Insurance

Code, Prompt Payment of Claims Act. TEx. INS. CoDE. § 542.051 et sed. All violations made under

this article are made actionable by TEx. INS. CODE §542.060.

        22.    Liberty Mutual's failure to acknowledge receipt of Plaintiffs' claim, commence

investigation of the claim, and request from Plaintiffs all items, statements, and forms that it

reasonably believed would be requii-ed within the applicable time constraints, as described above,

constitutes a non-prompt payment of claims and a violation of TEx. INS. CoDE §542.055.

        23.    Liberty Mutual's failure to notify Plaintiffs in writing of its acceptance or rejection

of the claim within the applicable time constraints, constitutes an untimely payment of the claim,

in violation of TEx. INS. CODE §542.056.

        24.    The failure of Liberty Mutual to pay Plaiiitiffs' claim within the statutory deadlines

following its receipt of all items, statements, and forms reasonably requested and required,

constitutes an untimely payment of the claim, in violation of TEx. INS. CODE §542.058.

        25.    Plaintiffs, therefore, in addition to Plaintiffs' claim for damages, are entitled to

interest at the maximum amount permitted under TEx. INS. CODE §542.060(c) and TEx. FIN. CoDE

§ 304.003, as well as reasonable and necessary attorney's fees.

C.      Unfair or Deceptive Acts or Practices

        26.    Liberty Mutual is required to comply with Chapter 541 of the Texas Insurance

Code.




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       27.       Liberty Mutual violated TEX. INs. ConE § 541.060, concerning unfair settlement

practices, by:

                 (1)    misrepresenting to Plaintiffs a material fact or policy provision rela.ting to

                        coverage at issue;

                 ('L)   failing to attempt in good faith to effectuate a prompt, fair, and equitable

                        settlement of a claim with respect i:o which the insurer's liability had

                        become reasonably clear;

                 (3)    failing to promptly provide to Plaintiffs a reasonable explanation of the

                        basis in the policy, in relation to the facts or applicable law, for the insurer's

                        denial of a claim or offer of a compromise settlement of a claim;

                 (4)    failing within a reasonable time to affirm or deny coverage of a claim to

                        Plaintiffs or submit a reservation of rights to Plaintiffs; and

                 (5)    refusing to pay the claim without conducting a reasonable investigation with

                        respect to the claim.

       28.       Liberty Mutual violated TEx. INs. CODB § 541.061, concerning misrepresentations

of insurance policy, by:

                 (1)    making an untrue statement of material fact;

                 (2)    failing to state a material fact necessary to make other statements made not

                        misleading considering the circamstances under which the statements were

                        made;

                 (3)    making a statement in a manner that would mislead a reasonably prudent

                        person to a false conclusion of a matei-ial fact;

                 (4)    making a material rnisstatement of law; and




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              (5)    failing to disclose a matter recluired by law to be disclosed.

       29.    At all relevant times, Plaintiffs were consumers who purchased insur-ance products

and services from Liberty Mutual.

       30.    Specifrcally, Liberty Mutual violated the Texas Deceptive Trade Practices Act

("DTPA") in the following respects:

              (1)    Liberty Nlutual represented that the agreement confers or involves rights,

                     remedies, or obligations which it does not have, or involve, or which are

                     prohibited by law;

              (2)    Liberty Mutual failed to disclose infor-mation concerning goods or services

                     which was known at the time of the transaction when such failure to disclose

                     such infol-mation was interided to induce the consumers into a. transaction

                     that the consumers would not liave eiitered into had the inforrnation been

                     disclosed;

              (3)    Liberty Mutual, by accepting insurance premiurns but refusing without a

                     reasonable basis to pay be:aefrts due and owing, engaged in an

                     unconscionable action or course of action as prohibited by § 17.50(a)(1)(3)

                     of the DTPA, in that Defendant took advantage of Plaintiffs' lack of

                     knowledge, ability, experience, and capacity to a grossly unfair degree, that

                     also resulted in a gross disparity between the consideration paid in the

                     transaction and the value received, in violation of Chapter 541 of the Texas

                     Insurance Code.




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        31.     Defendant knowingly committed the ztcts complained of. As such, Plaintiffs are

entitled to exemplary and/or treble damages pursuant to the DTPA and TEx. INS. CoDE §

541.152(a)-(b).

D.      Breaeh of the I)uty of Good Fraith and Fair Dealieeg

        32.     The Texas Supreme Court has recogn:ized a"duty on the part of insurers to deal

fairly and in good faith with their insureds. That duty emanates not from the terms ofthe insurance

contract, but from an obligation imposed in law `as a result of a special relationship between the

parties governed or created by a contract."' Vi1es v. ~'ectu•ity Nctt. Irt.s. Co., 788 SW 2d 566, 567

(Tex. 1990) (citing Arnold >>. Ncrtiortal C01.1170~ Matttrct)' Fire Irtsttr-cttice Co., 725 S. W.2d 165 (Tex.

1987)). Therefore, insureds can institute a cause of action against insurers for breach of the duty

of good faith and fair dealing.

        33.     Liberty Mutual and Plaintiffs are in a special relationship, created by the insurance

contract, giving rise to a duty on the part of Liberty P✓Iutual to deal fairly and in good faith with

Plaintiffs, who are the insured.

        34.     Liberty Mutual breached its duty of good faitli and fair dealing by:

                 a. Failing to provide a reasonable basis for denial or underpayment of the claim;

                     and/or

                b. Failing to determine whether there was a reasonable basis for denial or delay of

                     the claim.

Artaold, 725 S.W.2d at 167.

        35. Specifically, Liberty Mutual unclerpaid Plaintiffs' claim. Defendant's

misrepresentation of damages constitutes a breach of' its duty of good faith and fair dealing. As

fully described above, Liberty Mutual further breached its duty of good faith and fair dealing by




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failing to adequately and reasonably investigate and evaluate Plaintiffs' claim, although Liberty

Mutual knew or should have known by the exercise of reasonable diligence that its liability was

reasonably clear.

          36.   Liberty Mutual systematically and routinely cienies or underpays valid claims to the

detriment of its policyholders. As set forth above, the wrongful acts and omissions Liberty Mutual

committed in this case, or similar acts and omissions, occur with such frequency that they

constitute a general business practice of Liberty Mutual witli regard to handling these types of

claims.

          37.   By virtue of its systematic wrong{ul denials, Liberty Mutual compels its

policyholders to seek legal representation and initiate Eind maintain a suit to recover an amotint due

under the policy by offering nothing or substantially less than the amount that will be recovered in

a suit brought by the insured.

          38.   Liberty Mutual either failed to adopt or implement reasonable standards for prompt

investigation of claims arising uiider its policies or is cleliberately adopting standards calculated to

maximize its profit to the detriment of its policyholclers. Liberty Mutual is knowingly directing its

personnel, agents and/or adjusters to undervalue or underpay valid claims.

          39.   Defendant knowingly committed the act of denyina and/or underpaying claims

without a reasonable basis; tlierefore, Plaintiffs are e:ntitled to actual and exemplary damages at

law.

D.        Attorney's Fees

          40.   Plaintiffs engaged the undersigned a.ttorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorney's fees and expetises through trial and any appeal.




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        41.       Plaintiffs are entitled to reasonable aiid necessary attorney's fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because they are represented by an

attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30t11 day after the claim was presented.

        42.       Plaintiffs further pray that they be awarded all reasonable attorney's fees incurred

in prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and

542.060 of the Texas Insurance Code.

                                              VI.
                                    CONIlITiONS PRECEDENT

        43.       All conditions precedent to Plaintiffs' right to recover have been fully performed

or have been waived by Defendant. Pursuant to the statute, Plaintiffs ser-ved Defendant with a

notice of intent to file suit for their claims on February 25, 2019. That notice was provided more

than sixty-one (61) days before the filing of this lawsuit. TEx. INs. CoDE § 542.003(a)

                                             v><I.
                                      DISCOVERY REQUESTS

        44.       Pursuant to Rule 194, Defendant is requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(I).

        45.       Defendant is also requested to respoiid to the attached interrogatories, requests for

production, and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.

                                                VIII.
                                           JiJRY I)EMAND

        46.       Plaintiffs hereby recluest that all causes of action alleged liereiii be tried before a

jury of citizens residing in Harris County, Texas, and concurrently witli the filing of this petition

tender the appropriate jury fee.


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                                                IA.
                                             PItAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs Wortie and Janice Riggs pray that,

upon final hearing of the case, they recover all damages from and against Defendant that ma_y

reasonably be established by a preponderance of the evidence, and that they be awarded attorney's

fees through trial and appeal, costs of court, pre judgment interest, post judgment interest, and

such other and further relief, general or special, at law or in ecluity, to which Plaintiffs may show

themselves to be justly entitled.


                                              Respectfully submitted,

                                              By:     /,YlAjiaA~L Etle
                                                      Ana M. Ene
                                                      State Bar No. 24076368
                                                      aciie@triallawfirm.com
                                                             triallawfirm.com
                                                      CLAI2K, LOVE & HUTSON, PLLC
                                                      440 Louisia.na St., Suite 1600
                                                      Houston, Texas 77002
                                                      (713) 757-1400 (Office)
                                                      (713) 759-1217 (Facsimile)

                                                      LEAI) COU101SEL FOR PLAIletTIFF




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                                                                                 6/28/2019 3:00:10 PM
                                                                                 Marilyn Burgess - District Clerk
                                                                                 Harris County

                           2019-44458 / C:Ourt: 157                              HyvHALL, JOSHUA E 5
                                                                                 Filed: 6/28/2019 3:00:10 PM
                                  CAUSE NO

 WORTIE AND JANICE RIGGS                            §             IN THE DISTRICT COURT OF
                                                    §
        Plcrinli ffs,                               §
                                                    §
 vs.                                                §
                                                    §             HARRIS COUNTY, TEXAS
 LIBERTY MUTUAL INSURANCE                           §
                                                    §
        1)efe»dant.                                 §
                                                    §                       JUDICIAL DISTRICT

               PI..AINTIFFS' IFIRS'Y' SET OF INTERB.OGATORIES,
         REQUESTS FOR PRODUCTION AND F:EQUESTS FOR ADMISSIONS
               TO I9EFENDANT LIBERTY 1V1<UTUAL INSURANCE

       Plaintiffs in the above-styled cause request that Defendant Liberty Mutual Insurance (1)

answer the following discovery requests separately and fully in writing under oath within 30 days

of service (or within 50 days of service if the discovery was served prior to the date an answer is

due); (2) produce responsive documents to the undersigned counsel within the same time period;

and (3) serve its answers to tliese discovery requests witliin the same time period to Plaintiffs by

and through their attorney of record: Ana M. Ene, CLAR{, LOVE & Y-IIuTSON, PLLC, at 440

Louisiana Street, Suite 1600, Houston, Texas 77002.


                                              Respectfully submitted,

                                              By:       -'s.'Ancr Nf. Ehe
                                                        A.na M. Ene
                                                        State Bar No. 24076368

                                                        CLAttK, LOVE & ftUTSOIV, PLLC
                                                        440 Louisiana St., Suite 1600
                                                        Houston, Texas 77002
                                                        (713) 757-1400 (Office)
                                                        (713) 759-1217 (Facsimile)
                                                        L-E.4,D COUNSEL FOR PLAflNTIFFS
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                                CEI2TIFICATE OF SEIdVICE

       I hereby certify that a true and correct copy oi'these discovery requests were served onto
Defendant as an attachment to the petition. Therefore:, Defendant received the discovery when it
was served with the citation and Original Petition.


                                                    is,%Ana M. Ene
                                                    A.na M. Ene
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                                    INSTRgJCTYONS


 A.    These Responses call for your personal and present knowledge, as well as the present
       knowledge of your attorneys, investigators and other agents, and for information
       available to you and to them.

 B.    Pursuant to the applicable rules of civil procedure, produce all documents responsive
       to these Requests for Production as tliey are kept in the usual course of business or
       organized and labeled to correspond to th,,- categories in the recluests within the time
       period set forth above at CLAIzx, LovE & 1-IuTSON, PLLC

 C.    If you claim that any document or inforn-tation which is required to be identified or
       prodticed by you in any response is privile`;ed, produce a privilege log according to the
       applicable rules of civil procedure.

      1.   Iclentify the document's title and genersl subject matter;
      2.   State its date;
      3.   Identify all persons who participated in its preparation;
      4.   Identify the persons for whoni it was prepared or to whom it was sent;
      5.   State the nature of the privilege claimed; and
      6.   State in detail each and every fact upori wliich you base your claim for privilege.

 D.   If you claim that any part or portion of a document contains privileged inforinatioii,
      redact only the part(s) or portion(s) of the clocumeilt you claim to be privileged.

 E.   If you cannot answer a particular Interrogatory in full after exercising due diligence to
      secure the information to do so, please state so and answer to the extent possible,
      specifying and explaining your inability to answer the remainder and stating whatever
      information or knowledge you have concerning tlie unanswered portion.

 F.   You are also advised that you are under a(Iuty to seasonably amend your responses if
      you obtain information on the basis of wlii ch:

      1. You know the response made was incorrect or incomplete when made; or
      2. You know the response, though correct and complete when made, is no longer true
         and complete, and the circumstances
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                                      I1EFI1>IITIOI+1S

 A.    "I)efendant," "You," "Your(s)," refers to Liberty Mutual Insurance, its agents,
       representatives, employees and any other entity or person acting on its behalf.

 B.    "Plaintiff(s)" refers to the named Plaim:iffs in the above-captioned suit, whether
       singular or plural.

 C.    "The Property(ies)" refers to the property or properties located at the address(es)
       covei-ed by the Policy.

 D.   "The Policy" refers to the policy issued to Plaintiffs by the insurer and at issue in this
      1 awsuit.

 E.    "The Claim(s)" means the claim for insurance benefits submitted by Plaintiffs and at
       issue in this lawsuit, or in a prior claim, as the context may dictate.

 F.    "Date of Loss" refers to the date(s) of loss identified in Plaintiffs' live
       petition/complaint or other written or oral riotice, or otherwise assigiied to the claim by
       the insurer.

 G.   "glandle" or "Handled" means investi ;ating, adjusting, supervising, estimating,
      managing, settling, approving, supplying information or otlierwise performing a task
      or work with respect to the claim(s) at issue in this lawsuit, excluding purely ministerial
      or clerical tasks.

 H.    "Lavvsuit" refers to the above styled ancl captioned case.

       "Communication" or "comrnunications'" shall rnean and refer to the transmission or
       exchange of information, either orally or in writing, and includes without limitation
       any conversation, letter, handwritten tiotes, meinorandum, inter or intraoffice
       correspondence, electronic mail, text messages, or any other electronic transmission,
       telepl.ione call, telegrapli, telex telecopy, ficsimile, cable, conference, tape recording,
       video recording, digital recording, 1.7 discussion, or face-to-face communication.



       The term "Docurnent" shall mean all tanLible things and data, liowever stored, as set
       forth in the applicable rules of civil procedure, including, but not limited to all original
       writirigs of any nature whatsoever, all prior drafts, all identical copies, all nonidentical
       copies, correspondence, notes, letters, memora.nda of telephone conversations,
       telephone messages or call slips, interoffice memoranda, iiitraoffice memoranda, client
       conference reports, files, agreements, contracts, evaluations, analyses, records,
       photographs sketches, slides, tape recorciirigs, microficlie, communications, printouts,
       reports, invoices, receipts, vouchers, prof'it and loss statements, accounting ledgers,
       loan documents, liens, books of accounting, boolcs of operation, bank statements,
       cancelled checks, leases, bills of sale, maps, prints, insuraiice policies, appraisals,
       listing agreements, real estate closing doctiments, studies, summaries, minutes, notes,
Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 22 of 45




         agendas, bulletins, schedules, diaries, caleiidars, logs, announcements, instructions,
         charts, manuals, brochures, schedules, price lists, telegrams, teletypes, photographic
         matter, sound reproductions, however recorded, wliether still on tape or transcribed to
         writirig, computer tapes, diskettes, disks, all other mettiods or means of storing data,
         and any other documents. In all cases where originals, prior drafts, identical copies, or
         noniclentical copies are not available; "doctiment" a.lso means genuine, true and correct
         photo or other copies of originals, prior drafts, ideiitical copies, or nonidentical copies.
         "Document" also refers to any other material, iiicluditig without limitation, any tape,
         computer prograin or electronic data storage facility in or on which any data or
         information has been written or printecl or has been temporarily or permanently
         recorded by mechanical, photographic, magnetic, electronic or other means, and
         including any materials in or on which clata or information lias been recorded in a
         manner which renders in unintelligible wit:hout maciiine processing.

 K.       The term "referring" or "relating" shall mean showing, disclosing averting to,
          comprising, evidencing, constituting or reviewing.

 L.      The singular and masculine form of any noun or pronoun includes the plural, the
         feminine, and the neuter.

 M.       The terms "identification," "identify," a[ld "identity" when used in reference to:

      1. Natural Persons: Means to state iiis or her full name, residential address, present or
         last known business address and telephone number, a.nd present or last known position
         and business affiliation witli you;
      2. Corporate Entities: Means to state its full name atid any other names under which it
         does business, its form or organization, its state of incorporatioii, its present or last
         known address, and the identity of the officers or otlier persons who own, operate, or
         control the entity;
      3. I)ocuments: Means you must state the number of pages and iiature of the document
         (e.g. letter or memorandum), its title, its date, the name or names of its authors and
         recipients, its present location and custodian, and if any sucli document was, but no
         longer is, in your possession or control, sta.te what disposition was made of it, the date
         thereof, and the persons responsible for making t:he decision as to such disposition;
      4. Communication:      Requires you, if any part of the communication was written, to
         identify the document or documents which refer to or evidence the communication and,
         to the extent that the communication was non-written, to identify each person
         participating in the communication and to state the date, manner, place, and substance
         of the communication; and
      5. Activity: Requires you to provide a description of each action, occurrence, transaction
         or conduct, the date it occurred, the location at which it occurred, aiid the identity of all
         persons involved.

 N.       The term "Claim 1File" means the claim files and "field file(s)," whether lcept in paper
          or electronic format, includiiig but not limited to all documents, file jackets, file notes,
          claims diary or journal entries, log notes, handwritten notes, records of oral
 Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 23 of 45




           communications, communications, correspondence, pliotographs, diagrams, estimates,
           reports, recommendations, invoices, memoranda and drafts of documents regarding the
           Claini.

   O.      The term "Underwriting File" means the entire file, including all documents and
           information used for underwriting purposes even if you did not rely on such documents
           or information in order to make a decision regarding insuring Plaintiff's Property.


                             NOTIFCE OF Al<1T1FIENTICATION

       You are advised that pursuant to Tex. R. Civ. P. ] 93.7, Plaintiffs intend to use all
documents exchanbed and produced between the parties, including but not limited to
correspondence and discovery responses during the trial of the above-entitled and numbered cause.
  Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 24 of 45




      INTERROGATORIES TO DEFENDANT LIBERTY MUTUAL INSURANCE

INTERROGATORY NO. 1:
Identify all persons answering or supplying any information in answering these interrogatories.

       ANSWER:

INTERROGATORY NO. 2:
Identify all persons who were involved in evaluating Plaintiffs' claim and provide the following
information for each person you identify:

       a.      their name and job title(s) as of the Date of Loss;
       b.      their employer; and
       C.      description of their involvement with Plaintiffs' Claim.

       ANSWER:

INTERROGATORY NO. 3:
If you contend that the some or all of the damages to the Property were not covered losses under
the Policy, describe:

       a.      the scope, cause and origin of the damages you contend are not covered losses under
               the Policy; and
       b.      the term(s) or exclusion(s) of the Policy you relied upon in support of your decision
               regarding the Claim.

       ANSWER:

INTERROGATORY NO. 4:
State whether the initial estimate you issued was revised or reconciled, and if so, state what was
changed and who did it.

       ANSWER:

INTERROGATORY NO. 5:
If you contend that Plaintiffs did not provide you witl7 requested information that was required to
properly evaluate Plaintiffs' Claim, identify the inforrnation that was requested and not provided,
and the dates you made those request(s).

       ANSWER:

INTERROGA7'ORY NO. G:
If you contend that Plaintiffs' acts or oinissions voided, nullified, waived or breached the Policy
in any way, state the factual basis for your contention(s).

       ANSWER:
  Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 25 of 45




INTERROGATORY NO. 7:
If you contend that Plaintiffs failed to satisfy a condition precedent or covenant of the Policy in
any way, state the factual basis for your contention(s).

        ANSWER:

INTERROGATORY NO. 8:
Identify the date you first anticipated litigation.

        ANSWER:

INTERROGATORY NO. 9:
State the factual basis for each of your affirmative defenses.

        ANSWER:

INTERROGATORY NO. I0:
If you contend that Plaintiffs failed to provide proper notice of the claim made the basis of this
lawsuit, describe how the notice was deficient, and identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 11:
If you contend that Plaintiffs failed to mitigate damages, describe how Plaintiffs failed to do so,
                                                       ZD

and identify any resulting prejudice.

        ANSWER:
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 REOUEST FOR PRODUCTION TO DEFENDANT LIDERTY MUTUAL INSURANCE

REQUEST FOR PRODUCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiffs for the Property that were in effect
on the Date of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 2
If you contend that any prior claims Plaintiffs submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce a certified copy of all policies you issued to
Plaintiffs for the Property that were in effect during the handling of those claim(s).

       RESPONSE:

REQUEST FOR PRODUCTION NO. 3
Produce a copy of the declarations pages you issued for the Property in the three (3) years
preceding the Date of Loss.

       RESPONSE:

REQUEST FOR PRODUTION NO. 4
Produce your complete Underwriting File for Plaintiffs' policy of insurance with yoti.

       RESPONSE:

REQUEST F011t PRODUCTION NO. 5
Produce the complete Claini File including all doctiments and communications regarding the
Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 6
Produce the Claim Files regarding the Claim of any third-party you hired and/or retained to
investigate, consult on, handle and/or adjust the Claim.

       RESPONSE:

REQUEST FO]EZ PRODUCTION NO. 7
Produce all reser-ve information and documents which relate to the policy and the Claim.

       RESPONSE:
 Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 27 of 45




REOUEST FOR PRODUCTION NO. 8
If you contend that any prior claims Plaintiffs submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce the complete Claim File regarding those prior
claim(s).

       RESPONSE:

REQUEST FOR PRODiJCTION NO. 9
Produce all documents Plaintiffs (or any other person) provided to you related to the Claim or the
Property.

       RESPONSE:

REQUEST FOI2 PRODUCTION NO. 10
Produce all documents you provided to Plaintiffs (or any other person) related to the Claim or the
Property.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 11
Produce all reports, surveys, appraisals, damage estimates, proof of loss, or adjuster's report(s)
relating to the Claim, the Property or damage to the Property.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 12
Produce color copies of all visual reprodiictions of the Property taken either prior to, at the time
of, or after the Date of Loss (iiicluding diagrams, drawings, photographs, video records,
videotapes, or other information).

       RESPONSE:

REQUEST FOR PRODUCTION NO. 13
The file from the office of Plaintiff s insurance agent concerning Plaintiffs' Property

       RESPONSE:

REQUEST FOR PRODUCTION NO. 14
Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation,
handling, and settlement of Plaintiffs' Claim.

       RESPONSE:
  Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 28 of 45




REQUEST FOR PROI)UCTION NO. 15
Produce all written communications you sent to, or received from, any independent adjusters,
engineers, contractors, estimators, consultants or other third-parties who participated in
investigating, handling, consulting on, anci/or adjusting Plaintiffs' Claim.

        RESPONSE:

REQUEST FOR PRODUCTION NO. 16
Produce all written and/or electronic communications you sent to, or received from, Plaintiffs'
insurance agent related to the Claim, the Property, the Plaintiffs or this Lawsuit.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 17
Produce all written and/or electronic communications you sent to, or received from, any local,
state, or governmental entity related to the Claim, the Property, the Plaintiffs or this Lawsuit.

       RESPOI+TSE:

REQUEST FOIR PRODUCTiON NO. 18
Produce all written and/or electronic communicatiot-is you sent to, or received, from Plaintiffs
and/or any other named insui-ed on the Policy related i:o the Claim, the Property, or this Lawsuit.

       RESPONSE:

REQUEST FOR PROIDUCTION NO. 19
Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in
evaluating damage to Plaintiffs' Property, including performance reviews/evaluations. This
request is limited to the three (3) years prior to the Date of Loss and one (1) year after the Date of
Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 20
Produce your claim handling manual(s) in effect oti the Date of Loss related to your claims
practices, procedures and standards for- property los ses and/or wind and hail storm claims, for
persons haiidling claims on your behalf, including (if any) operating guidelines and/or adjuster's
manuals and/or any written impleniented or adopted standards for the prompt investigation of
claims arising under similar property insurance policie;s. If no such written guidelines, manuals, or
standards have been adopted and/or impleinented, respond "None."

       RESPONSE:

REQUEST FOR PRODUCTIOrd NO. 21
Produce your property claims training manual and rnaterials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims.
  Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 29 of 45




       RESPONSE:

REQUEST FOR PRODUCTIOPd NO. 22
Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters and
alerts directed to all persons acting on your behalf that: were issued from six (6) months before and
after the Date of Loss related to the handling of witid or hail storm claims in connection with the
storm at issue.

       RESPONSE:

REQUEST FOl[d PRODUCTION NO. 23
Produce the contract(s), agreement(s) arid/or written understanding(s) with any independent
adjusters or adjusting firms who you retained to investigate, handle and/or adjust Plaintiffs' Claim
on your behalf that were in effect on the Date of Loss.

       RESPONSE:

REQUEST FO]ta PRODUCTION NO. 24
Produce the contract(s), agreement(s) and/or written iinderstanding(s) with a.ny engineers and/or
engineering firms you retained to irivestigate, handle and/or adjust Plaintiffs' Claim on your behalf
that were in effect at the time of his/her investigatioti, handling and/or adjustment of Plaintiffs'
claim, either pre or post-lawsuit.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 25
Produce the "Pay sheet," "Payment Log," or list of payments rnade on Plaintiffs' Claim, including
all indemnity, claim expenses and payments made to third-parties.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 26
Produce all billing statements, including billing detail., showing the amounts you paid or for which
you were billed by any independent adjusters or adjus-ting firms who inspected Plaintiffs' Property
in connection with the Claim.

       RESPONSE:

R_EQUEST FOR PRODUCTION NO. 27
Produce all billing detail showing the amounts you paid or for which you were billed by any
engineer and/or engineering firm who inspected Plainfiffs' Property in connection witli the Claim,
whether pre or post-lawsuit.

       RESPONSE:
  Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 30 of 45




REQUEST FOR PRODUCTION NO. 28
Produce all estimates, reports or memoranda, includitig drafts of the same, created for you or by
any independent adjusters or adjusting finns in connection with tlie Claim.

        RESPONSE:

REQUEST )H'OR PRODUCTION NO. 29
Produce all estimates, reports, or memoranda, includii-ig drafts ofthe same, created fot- you by any
engineers and/or engineering firms in connection witl) the Claim.

        RESPONSE:

REQUEST FOR PRODUCTION NO. 30
Produce all statements given by anyone, oral or written, to you or any of your agents, related to
Plaintiffs' Claim and/or any issue in Plaintiffs' live petition.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 31
Pursuant to the applicable rules of evidence, produci; all documents evidencing conviction of a
crime which you intend to use as evidence to impeach any party or witness.

       RESPONSE:

REQUEST F011t PRODUCTION NO. 32
Produce all documents you identified, referred to. or relied upon in answering Plaintiffs'
interrogatories.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 33_
Produce all non-privileged documents you identified, referred to, or relied upon in developing,
answering and/or formulating your Answer and/or Affi rmative Defenses to Plaintiffs' live petition.

       RESPONSE:

REQUEST FO]Et PRODUCTION NO. 34
Produce copies of all documents you intend to of:fer as evidence at the trial of this matter.

       RESPQNSE:

REQUEST F0112 PRODUCTIOrI NO. 35
Produce copies of all documents relating to your declaration of the storm alleged to have caused
damage to Plaintiffs' Property as a"catastrophe."

       RESPONSE:
 Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 31 of 45




REQUEST FOR PROI)UCTIOrd N0. 36
If an attorney was involved in evaluatinc, payment or covei-age of Plaintiffs' Claim pre-suit,
provide all documents relating to that evaluation or recommendation.

       RESPOIVSE:
 Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 32 of 45




 REQUEST FOR ADMISSIONS TO DEFENDAPdT LIBERTY MUTUAL INSURANCE

ItEQUEST FO7R ADMISSION NO. 1:
Admit that on Date of Loss the Property sustained darnages caused by a windstonn.

       RESPONSE:

IZEQUEST FOR ADMISSION NO. 2:
Admit that as of the Date of Loss the Policy was in full force and effect.

       ItESPONSE:

ItEQUES'I' FOR ADMISSION NO. 3:
Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

       l2ESPONSE:

REQUEST FOIR ADMISSION NO. 4:
Admit that the Policy is a replacement cost value policy.

       RESPONSE:

_REQUEST FO]R ADMISSION NO. 5:
Admit that the Policy is an actual cash value policy.

       ItESPONSE:

ItEQUEST FOIR ADMISSION NO. 6:
Admit that you did not request a Sworn Proof of Loss from Plaintiffs in connection with the Claim
at issue.

       IdESPONSE:

ItEQUEST F0112 ADMISSION NO. 7:
Admit that you did not request a Sworn Proof of Loss from any other named insured on the Policy
in connection with the Claim at issue.

       I3ESPONSE:

ItEQUEST FO]R ADMISSION NO. 8:
Admit that Plaintiffs timely submitted tlie Claim.

       RESPONSE:
  Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 33 of 45




ItEOUES'I' FO]R AI)MISSION NO. 9:
Admit that your decision to deny or partially deny Plaintiffs' Claim was made in whole or in part
on the basis that third parties were responsible for causing damages to the Property.

       I3ESP01'+IISE:

ItEOUEST FO]R ADMISSION NO. 10:
Admit that Defendant's decision to deny or partially cleny Plaintiffs' Claim was made in whole or
in part on the basis that the claimed damages are not covered by the Policy.

       RESPONSE:

REQUES'I' FO]R ADIVIIISSION NO. 11:
Admit that Defendant's decision to deny or partially deny Plaintiffs' Claim was made in whole or
in part on the timeliness of the Claim's submission.

       RESPONSE:

}1ZEQUEST F011d ADMISSION NO. 12:
Admit that you depreciated the costs of labor when determining the actual cash value of the
Claim at issue.

       RESPOIeTSE:

ItEQUES'I' FOIIt AD1bIISSION NO. 13:
Admit that the adjuster assigned to investigate the Claim did not review the underwriting file at
any time during the adjustment of the Claim.

       I2ESPONSE:

ItEQUEST FO][Z ADIVIISSION NO. 14:
Admit that the Claim was reviewed by persons other than people who actually inspected the
Property.

       RESPONSE:

I2EQUEST FO1R ADIVIISSION NO. 15:
Admit that you reinsured the property/risk after Plaintiffs' reported loss.

       RESPONSE:
                                  Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 34 of 45
                                                                                                                         `            1   i
                  Marilyn Burgess                                                                                      I~i~~s   —
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               HOUSTON, TExns 77210-4651                                                                                                           -•L•,           —• ~ _ ~ _~ ; —
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                                                                                        LIBERTY MUTUAL INSURANCE
                                                                                                   C/O
                                                                                      CORPORATION SERVICE COMPANY
                                                                                       211 EAST 7T" STREET SUITE 620
                                                                                          AUSTIN, TX 78701-3218
                                                                                             2019-44458 157rH
Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 35 of 45




     EXHIBIT A-3
                Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 36 of 45                       w


                                          CAUSE N0. 201944458

                                          RECEIPT N0.                                 75.00          CTM
                                                    **********                        TR # 73641816
PLAINTIFF: RIGGS, WORTIE                                                    In The   157th
        vs.                                                                 Judicial District Court
DEFENDANT: LIBERTY MUTUAL INSURANCE                                         of Harris County, Texas
                                                                            157TH DISTRICT COURT
                                                                            Houston, TX
                                         CITATION (CERTIFIED)
THE STATE OF TEXAS
County of Harris



T0: LIBERTY MUTUAL INSURANCE (AN INSURANCE COMPANY) MAY BE SERVED
    BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY

      211 EAST 7TH STREET SUITE 620      AUSTIN TX 78701 - 3218
      Attached is a copy of PLAINTIFFS ORIGINAL PETITION AND JURY DEMAND FIRST SET OF
      INTERROGATORIES REQUESTS FOR PRODUCTION AND REOUESTS FOR ADMISSIONS TO DEFENDANT

This instrument was filed on the 28th dav of June, 2019, in the above cited cause number
and court. The instrument attached describes the claim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.

TO OFFICER SERVING:
      This citation was issued on 2nd day of July, 2019, under my hand and
seal of said Court.



                                               .
                                                             "<
Issued at reauest of:                                             MARILYN BURGESS, District Clerk
ENE, ANA MARIA                                                    Harris County, Texas
440 LOUISIANA STREET, SUITE 1600            d •.         ~a'      201 Caroline, Houston, Texas 77002
                                                                  (P.O. Box 4651, Houston, Texas 77210)
HOUSTON, TX 77002
Tel: (713) 757-1400
Bar No.: 24076368                                   Generated By: HALL, JOSHUA EVERETT        GLH//11265568


                                        CLERK'S RETURN BY MAILING
Came to hand the         day of                                  ,       , and executed by
mailing to Defendant certified mail, return receipt requested, restricted delivery, a true
copy of this citation together with an attached copy of
 PLAINTIFFS ORIGINAL PETITION AND JURY DEMAND FIRST SET OF
to the following addressee at address:


                                                   ADDRESS

                                                   Service was executed in accordance with Rule 106
(a)ADDRESSEE                                          (2) TRCP, upon the Defendant as evidenced by the
                                                       return receipt incorporated herein and attached
                                                       hereto at


                                                   on        day of                              ,
                                                   by U.S. Postal delivery to


                                                   This citation was not executed for the following
                                                   reason:


                                                   MARILYN BURGESS, District Clerk
                                                   Harris County, TEXAS

                                                   By                                           , Deputy




N.INT.CITM. P                                                *73641 816*
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Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 38 of 45




     EXHIBIT A-4
     Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 39 of 45                           7/26/2019 10:23 AM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 35454622
                                                                                                        By: Kimberly Garza
                                                                                               Filed: 7/26/2019 10:23 AM




                                    CAUSE NO. 2019-44458

WORTIE AND JANICE RIGGS                          §           IN THE DISTRICT COURT
                                                 §
                                                 §
       Plaintiffs,                               §
                                                 §
v.                                               §           157th JUDICIAL DISTRICT
                                                 §
                                                 §
LIBERTY MUTUAL INSURANCE,                        §
                                                 §
Defendant.                                       §           HARRIS COUNTY, TEXAS


                      DEFENDANT, LIBERTY MUTUAL INSURANCE’S
                     ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES



TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Liberty Mutual Insurance, Defendant in the above-entitled and numbered

cause, filing this its Original Answer and Affirmative Defenses to Plaintiffs’ Original Petition for

Relief, and would respectfully show the Court as follows:

                                      I. GENERAL DENIAL

        Defendant denies all and singular the allegations contained in Plaintiffs’ Original Petition

for Relief and demands strict proof thereof.

                                 II. AFFIRMATIVE DEFENSES

        First Affirmative Defense

        Liberty Mutual Insurance did not issue an insurance policy to the plaintiffs. The company

which issued a policy (“Policy”) to the plaintiffs is Liberty Insurance Corporation.




DEFENDANT’S ORIGINAL ANSWER                                                                       – PAGE 1



                                                                                 A-4
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        Second Affirmative Defense

        The Policy does not provide coverage for loss to the Plaintiffs’ Property located at 8406

Flintridge Drive (“Property”) caused by collapse except as provided in E.8. Collapse under

Section I—Property Coverages.

        Third Affirmative Defense

        The Plaintiffs’ Property did not sustain a collapse as set forth in E.8. Collapse under

Section I—Property Coverages of the Policy.

        Fourth Affirmative Defense

        The Policy does not provide coverage for loss to the Plaintiffs’ Property caused by wear

and tear, marring, deterioration.

        Fifth Affirmative Defense

        The Policy does not provide coverage for loss to the Plaintiffs’ Property caused by

mechanical breakdown, latent defect, inherent vice, or any quality in property that causes it to

damage or destroy itself.

        Sixth Affirmative Defense

        The Policy does not provide coverage for loss to the Plaintiffs’ Property caused by

seepage.

        Seventh Affirmative Defense

        The Policy does not provide coverage for loss to the Plaintiffs’ Property or to their

Personal Property caused by water damage as set forth in Section I—Exclusions, A. 3. Water

Damage.




DEFENDANT’S ORIGINAL ANSWER                                                               – PAGE 2
    Case 4:19-cv-02765 Document 1-1 Filed on 07/26/19 in TXSD Page 41 of 45



        Eighth Affirmative Defense

        The Policy does not provide coverage for loss to the Plaintiffs’ Property or to their

Personal Property caused by neglect as set forth in Section I—Exclusions, A. 5. Neglect.

        Ninth Affirmative Defense

        The Policy does not provide coverage for loss to the Plaintiffs’ Property caused by faulty,

inadequate or defective:

                         a.    Planning, zoning, development, surveying, siting;

                         b.    Design, specifications, workmanship, repair, construction,
                               renovation, remodeling, grading, compaction;

                         c.    Materials used in repair, construction, renovation or
                               remodeling; or

                         d.    Maintenance;

as set forth in Section I—Exclusions, B. 3.

        Tenth Affirmative Defense

        Even assuming the existence of a covered loss to the Property or to Personal Property,

which Defendant expressly denies, the Plaintiffs’ claims are time-barred by the Policy’s Suit

Against Us provision to the extent they relate to loss or damage which existed prior to the

expiration of the parties’ contractually-agreed upon time limitation for suit.

        Eleventh Affirmative Defense

        Even assuming the existence of a covered loss to the Property or to Personal Property

which Defendant expressly denies, the amount of the Plaintiffs’ claim which would be covered

under the Policy did not exceed the applicable deductible.




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        Twelfth Affirmative Defense

        Even assuming the existence of a covered loss to the Property, which Defendant

expressly denies, the Plaintiffs did not sustain any damage to Personal Property caused by

Hurricane Harvey.

        Thirteenth Affirmative Defense

        Even assuming the existence of a covered loss to the Property, which Defendant

expressly denies, the Plaintiffs did not make a cognizable claim for loss to Personal Property

caused by Hurricane Harvey.

        Fourteenth Affirmative Defense

        Even assuming the existence of a covered loss to Personal Property, which Defendant

expressly denies, the Plaintiffs failed to give prompt notice of loss as required under Section I—

Conditions, B. 1. Your Duties After Loss. As Liberty was prejudiced by this failure, any claim

for loss to Personal Property occasioned by Hurricane Harvey is barred.

        Fifteenth Affirmative Defense

        Even assuming the existence of a covered loss to their Property and to Personal Property,

which Defendant expressly denies, the Plaintiffs failed to protect the property from further

damage as required by Section I—Conditions, B. 1. Your Duties After Loss. As Liberty was

prejudiced by this failure, any claim for loss to their Property or to Personal Property occasioned

by Hurricane Harvey is barred.

        Sixteenth Affirmative Defense

        Even assuming the existence of a covered loss to their Property and to Personal Property,

which Liberty expressly denies, the Plaintiffs failed to cooperate in the investigation of a claim

as required by Section I—Conditions, B. 1. Your Duties After Loss. As Liberty was prejudiced



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by this failure, any claim for loss to their Property or to Personal Property occasioned by

Hurricane Harvey is barred.

        Seventeenth Affirmative Defense

        Even assuming the existence of a covered loss to Personal Property, which Liberty

expressly denies, the Plaintiffs failed to prepare and provide an inventory of damaged personal

property as required by Section I—Conditions, B. 1. Your Duties After Loss. As Liberty was

prejudiced by this failure, any claim for loss to Personal Property occasioned by Hurricane

Harvey is barred.

        Eighteenth Affirmative Defense

        Even assuming the existence of a covered loss to their Property or to Personal Property,

which Liberty expressly denies, the amount of the Plaintiffs’ claims are barred to the extent they

seek an amount in excess of applicable coverage limits.

        Nineteenth Affirmative Defense

        Even assuming the existence of a covered loss to their Property or to Personal Property,

which Liberty expressly denies, the amount of the Plaintiffs’ claims are barred to the extent they

seek an amount in excess of applicable coverage limits.

        Twentieth Affirmative Defense

        The Plaintiffs’ original petition fails to state a claim upon which relief can be granted.

                              III.      CONDITIONS PRECEDENT

        Defendant denies that all conditions precedent have been fully performed by the Plaintiffs

or have been waived by Liberty.

        a. Texas Insurance Code 541.154




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        The Plaintiffs allege violations of the Texas Deceptive Trade Practices Act, but have not

complied with the requirements of Texas Insurance Code 541.154 in that:

        a.      The Plaintiffs did not advise Defendant of their specific complaint by providing

reasonable factual details to support a claim that payments are owed for “additional damages”

such as to “contents”;

        b.      The Plaintiffs did not provide an amount of claimed actual damages or expenses

for “additional damages” such as to “contents”;

        c.      The Plaintiffs did not provide a sufficient basis for the amount of claimed actual

damages or expenses owed by Liberty for alleged covered damages to the Property; and

        d.      The Plaintiffs did not advise Liberty of the attorneys’ fees reasonably incurred in

asserting the claim against Liberty.

        b. Texas Insurance Code 542A.003

        The Plaintiffs have additionally failed to comply with the requirements of Texas

Insurance Code 542A.003 in that:

        a.      The Plaintiffs did not provide a statement of the alleged acts or omissions giving

rise to their claim for additional damages such as “additional damages” to “contents”;

        b.      The Plaintiffs did not provide a specific total amount alleged to be owed for the

claim for damage or loss to their covered property; and

        c.      The Plaintiffs failed to provide notice of the amount of reasonable and necessary

attorney’s fees.

        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that

Plaintiffs take nothing by this lawsuit, and for such other and further relief, at law or in equity, to

which Defendant is justly entitled.



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                                                    Respectfully submitted,


                                                     /s/ Kieran W. Leary
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                                                    ATTORNEY FOR DEFENDANT




                               CERTIFICATE OF SERVICE

        I certify that on the 26th day of July 2019, a true and correct copy of the foregoing was
served via TexFile, facsimile or U.S. Mail on all counsel of record pursuant to the Texas Rules of
Civil Procedure:

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                                                    /s/ Kieran W. Leary
                                                    KIERAN W. LEARY




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